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IN THE UNITED STATES BANKRUPTCY COURT d
NORTHERN DISTRICT OF INDIANA, HAMMOND DIWMT 22 m ms 07

In re C§g_....

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Case Noi`-;'\l:é.\
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BRUCE LLOYD OUTLAW, SR.,
Debtor, Chapter: 13

WILLIE T. DONALD,
Plaintiff, Judge J ames R. Ahler
v.

BRUCE LLOYD OUTLAW, SR.,

Defendant.

\/\/\/\./\/\_/\/\/\/\/\/\/V\/\/

ADVERSARY COMPLAINT TO EXCEPT DEBT FROM DISCHARGE

Plaintiff Willie T. Donald, by and through his attorneys, Loevy & Loevy, complains of

Defendant-Debtor Bruce Lloyd Outlaw, Sr. and states as follows:
INTRODUCTION

l. In June 1992, Plaintiff Willie T. Donald Was convicted of crimes he did not
commit - namely, robbery and murder - due to the misconduct of Defendant-Debtor Bruce
Lloyd Outlaw, Sr., among others.

2. On January 25, 2016, the Superior Court of Lake County vacated Mr. Donald’s
convictions, and all charges against him were dismissed on January 28, 2016. By that time - and
as a direct result of Defendant-Debtor Outlaw’s conduct - Mr. Donald had already lost nearly
twenty-four years of his life as an innocent man in prison

3. In January 2017, Mr. Donald filed a civil rights complaint in the United States
District Court for the Northern District of Indiana, asserting federal and state claims against

Defendant-Debtor Outlaw and other defendants for the harm they inflicted upon him (the “Civil

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Rights Litigation”). See Donald v. Outlaw, et al., No. 2:l'7-cv-00032 (N.D. lnd.). That case is
still pending

4. Mr. Donald brings this complaint to except any judgment debt resulting from the
Civil Rights Litigation from any discharge of Outlaw’s debt pursuant to ll U.S.C. § 523(a)(6).

Jurisdiction

5. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).
Parties

6. Plaintiff Willie T. Donald lives in Gary, Indiana.

7. Defendant-Debtor Outlaw is a resident and citizen of the State of Indiana and was,
at the time of the events underlying Mr. Donald’s wrongful conviction, a police officer with the
Gary Police Department.

Relevant Factual Background

8. On February 27, 1992, several robberies Were committed in the Glen Park
neighborhood of Gary, Indiana. During one of the robberies, an individual was shot and killed.

9. Mr. Donald was subsequently arrested for committing the above-described
crimes, even though he was totally innocent The arrest resulted from police activity conducted
by Outlaw, among others.

10. Mr. Donald was charged and ultimately convicted in June 1992 and sentenced to
60 years in prison. Indiana v. Donald, 45GOl-9203-CF-00065 (Lake County Sup. Ct.).

ll. Following his conviction, Mr. Donald took steps to prove his innocence These
efforts ultimately led to his convictions being vacated on January 25, 2016, and all charges

against him being dismissed on January 28, 2016.

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l2. On January 24, 2017, Mr. Donald filed the complaint in the Civil Rights
Litigation, alleging that Outlaw and others had wrongfully caused him to be arrested and
prosecuted for crimes he did not commit by purposefully fabricating false evidence, securing
eyewitness identifications using highly suggestive procedures, and suppressing exculpatory
information about the identification procedures A copy of the complaint is attached hereto as
Exhibit l.

13. The injuries Mr. Donald suffered and complains of in the Civil Rights Litigation
were due to Gutlaw’s intentional, willful and malicious acts.

Defendant-Debtor Outlaw Cannot Discharge
a Judgment Debt to Mr. Donald in Bankruptcy

14. On January 26, 2016, Defendant-Debtor Outlaw filed a voluntary petition for
Chapter 13 bankruptcy protection.

l5. Mr. Donald did not receive notice of Outlaw’s bankruptcy filing until
approximately August 23, 2017.

l6. Under ll U.S.C. § 523(a)(6), Defendant-Debtor Outlaw cannot discharge a
judgment debt to Mr. Donald because it was incurred as a result of Defendant-Debtor Gutlaw’s
Willful, intentional and malicious violation of Mr. Donald’s constitutional and state-law rights.

WHEREFORE, for the foregoing reasons, Plaintiff respectfully prays that the Court order
that:

(l) the debt of Defendant-Debtor Outlaw to Mr. Donald is non-dischargeable;

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(2) Mr. Donald’s judgment in the Civil Rights Litigation ~ which judgment is yet to
be determined as the Civil Rights Litigation is still pending in the United States District Court for
the Northern District of Indiana ~ is not discharged; and

(3) Mr. Donald have such other and further relief as is just.

Res ctfully s @d,
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Dated: October l7, 2018

Scott R. Drury

LOEVY & LOEVY

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Chicago, Illinois 60607
(312) 243-5900
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EXHIBIT 1

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF INDIANA, HAMMOND DIVISION

WILLIE T. DONALD, )
)
Plaintiff, )
)
v. )
) No. 2117-cv-00032
BRUCE OUTLAW, CARLA K. PYLE, as )
special administrator of the ESTATE OF )
JOHN E. JELKS, Jr., CITY OF GARY, ) JURY TRIAL DEMANDED
and other as-yet unknown employees )
of the City of Gary )
)
Defendants. )
_C_Q_MI_N_T_

NOW COMES Plaintiff, WILLIE T. DONALD, by his attorneys, LOEVY&
LOEVY, and complains of Defendants BRUCE OUTLAW, CARLA K. PYLE, as
special administrator of the ESTATE OF JOHN E. JELKS, Jr., CITY OF GARY,
and other as-yet unknown employees of the City of Gary, and states as follows:

Introduction

1. Plaintiff Willie T. Donald was Wrongfully convicted of murder and
robbery, and spent nearly twenty-four years in prison for crimes he did not commit.

2. Mr. Donald’s conviction rested solely on two false eyewitness
identifications that Defendants fabricated and manipulated There was no further
evidence, physical or otherwise, linking Mr. Donald to either the murder or the
robbery.

3. ln fact, Defendants developed information which conclusively

established that Mr. Donald was not the perpetrator seen by one of the

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eyewitnesses The Defendants deliberately suppressed this exculpatory evidence
and focused singularly on Mr. Donald, causing his wrongful conviction,

4. On January 25, 2016, the Superior Court of Lake County vacated Mr.
Donald’s convictions for murder and robbery. By that time, however, Mr. Donald
had already lost nearly twenty-four years of his life as an innocent man in prison as
a direct result of Defendants’ misconduct

5. Plaintiff now brings this action pursuant to 42 U.S.C. § 1983 and
Indiana law to redress Defendants’ tortious conduct and the deprivation under color
of law of Plaintiff’ s rights as secured by the United States Constitution.

Jurisdiction

6. This Court has jurisdiction of the action pursuant to 28 U.S.C. §§ 1331
and 1367.

7 . Venue is proper under 28 U.S.C. § 1391 (b). All parties reside in this
judicial district and the events giving rise to the claims asserted herein occurred in
this judicial district

Parties

8. Plaintiff Willie “Timmy” Donald is a 48-year old man residing in Gary,
Indiana.

9. At all relevant times, Defendants Bruce Outlaw, John Jelks and other
as-yet unknown employees of the City of Gary (“Defendant Officers”) were police
officers With the Gary Police Department, employed by the Defendant City of Gary

and acting under color of law and within the scope of their employment

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10. Carla K Pyle is the special administrator of the Estate of John E.
Jelks, Jr., appointed on January 23, 2017 by the Superior Court of Lake County,
Probate Division, Roorn 2, cause no. 45D02-1'701-EU-00004.

11. The Defendant City of Gary is a municipal corporation under the laws
of the State of Indiana.

The Crimes

12. On February 27, 1992, several robberies were committed in the Glen
Park neighborhood of Gary, Indiana. During one of the robberies, 30-year old
Bernard Jimenez Was shot and killed.

13. When Defendants Jelks and Outlaw reported to the scene of the
Jimenez homicide they learned that Mr. Jimenez’s fiancé, Kimberly Belinsky, had
witnessed the shooting

14. Defendant Officers obtained a description from Ms. Belinsky
characterizing the assailant as a black man with an acne-scarred face, between 5’ 6”
and 5’ 7” tall, medium build, wearing a waist-length dark leather jacket and a black
cap on his head.

15. A Woman named Rhonda Williams also reported a robbery that night
Ms. Williams gave police a similar description to Ms. Belinsky’s: Williams described
the robber as a black male with bad skin, approximately 5’ 7 ”, Wearing a black
leather jacket and a black Kangol cap With a bandana underneath

16. Another robbery Was reported a few blocks away by a Gary police

detective, Mary Banks, and her daughter Banks also gave a similar description,

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noting that the robber wore black clothing and had a scarred complexion Ms. Banks
reported that the robber stated he had just shot someone

Defendants’ Misconduct

17. Defendant Outlaw was the lead detective assigned to investigate the
Jimenez homicide and the Williams and Banks robberies Defendant Jelks Was
assigned to these cases as a junior detective

18. Rather than conducting an honest investigation to identify and
prosecute the true perpetrator of these crimes, Defendant Officers, sometimes
acting alone and sometimes acting in concert, conducted unduly suggestive
identification procedures, manufactured false inculpatory evidence to frame Mr.
Donald, and lost, destroyed, or Withheld material exculpatory evidence that Would
have helped him demonstrate his innocence at trial.

19. Shortly following the crimes, Defendant Outlaw spoke with Ms.
Williams on the phone and asked her to recount the horne invasion and robbery.

20. Defendant OutlaW took no notes of this conversation and made no
formal report of her statement

21. Defendant Officers arranged for Ms. Belinsky and Ms. Williams to
come to the police department

22. At the police station, Defendant Officers placed Ms. Belinsky and l\/ls.
Williams in the same room and told them to look through photo books together to
see if they could identify the perpetrator.

23. Instead of disclosing the suggestive nature of the photo book

identification procedures and the cross-contamination between any identification

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made by Ms. Belinsky and l\/.[s. Williams, Defendant Officers suppressed the
information that the women viewed the photographs together, and fabricated false
reports reflecting that the women had each made an independent identification of
Mr. Donald.

24. From that point forward, Defendant foicers focused their
investigation solely on Mr. Donald.

25. In the days after Ms. Williams viewed the photo books, she called the
Gary Police Department and reported that she had just seen the man Who had
robbed her and that he had been on the street near her home.

26. Defendant Jelks spoke to Ms. Williams shortly after this call, and she
conveyed the same information to him.

27 . Defendant Jelks subsequently shared this information With Defendant
Outlaw.

28. At the same time that Ms. Williams saw the robber on the street near
her home and called the police, Mr. Donald Was at his job at Goldblatt’s Department
Store, where he worked as a Shipping and Receiving Clerk.

29. Defendant Officers Went to Goldblatt’s and verified that Mr. Donald
was present at his job at this crucial time.

30. Prior to Mr. Donald’s conviction, Defendant Officers suppressed the
information about Ms. Williams’ call to the police, her statement that she saw the
robber near her house, and the information that Defendant Officers developed

proving that Mr. Donald could not have been that man, deliberately withholding

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this exculpatory evidence from Mr. Donald, his defense counsel, and the
prosecution.

31. Despite knowing that Mr. Donald could not have been the person Ms.
Williams identified as the perpetrator, Defendant Officers continued to pursue Mr.
Donald as their only suspect and continued to conduct highly suggestive
identification procedures, suppress exculpatory evidence and fabricate evidence to
falsely implicate Mr. Donald as the perpetrator of these crimes.

32. Defendant Officers arrested Mr. Donald and put him in a lineup.

33. Defendant Officers put Mr. Donald in a lineup in order to manufacture
false identifications of him.

34. Defendant Officers arranged for Ms. Williams, Ms. Belinsky, and Ms.
Banks to each view the lineup.

35. When Ms. Williams viewed the lineup, she told Defendant Outlaw that
Mr. Donald looked bigger and taller than the real perpetrator.

36. ln order to obtain an identification, Defendant Outlaw took steps to
overcome Ms. Williams’ hesitation and convince her that Mr. Donald was guilty,
including by providing Ms. Williams With false information

37 . After the live-lineup, Defendant Outlaw showed Ms. Williams a six-
person photo array containing the same photograph of Mr. Donald that she had
seen earlier. Defendant Outlaw told Williams to make another identification

38. Defendant Officers did not document Ms. Williams’ reservations about

her identification during the live lineup, or Defendant Outlaw’s improper and

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highly suggestive tactics which he used to persuade l\/_[s. Williams to identify Mr.
Donald.

39. Defendant Officers deliberately withheld this information from Mr.
Donald, his defense counsel, and the prosecution

40. As a direct result of the Defendant Officers’ fabrication of evidence and
their use of highly suggestive identification procedures, Ms. Williams testified at
Mr. Donald’s criminal trial that she had no doubt that he was the robber.

41. As a direct result of Defendant Officers’ suppression of the true
circumstances surrounding Ms. Williams’ identification, and their suppression of
the information that she identified a man on the street who could not have been
Mr. Donald, as the robber, Mr. Donald was deprived of compelling exculpatory
evidence to rebut l\/ls. Williams’ identification

42. When Ms. Banks viewed the live lineup containing Mr. Donald, she
told Defendant Officers that the robber was not in the lineup.

43. Defendant Officers withheld the fact that Ms. Banks affirmatively
excluded Mr. Donald as the perpetrator.

Mr. Donald’s Innocence

44. From the very beginning and throughout the decades of his wrongful
imprisonment Mr. Donald has steadfastly maintained his innocence

45. Mr. Donald told police that, at the time of the crimes, he was car
shopping with his sister and her fiancé.

46. Defendant Officers ignored this information and made no efforts to

verify his alibi.

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47. No physical evidence was ever recovered that implicated Mr. Donald in
these crimes in any way.

48. Following his arrest, Defendant foicers searched Mr. Donald’s
residence and found nothing inculpatory: there were no proceeds of the robberies, no
weapon, and no clothing matching the eyewitness descriptions

49. Defendant Officers did not develop any fingerprints or other forensic
evidence linking l\/lr. Donald to the crimes.

50. The evidence fabricated by Defendant Officers was, therefore, the only
evidence linking Mr. Donald to the Jimenez murder and the Williams robbery.

51. Though Defendant Officers had no physical evidence implicating Mr.
Donald, knew that the eyewitness identifications were false and fabricated, and
knew that Ms. Williams’ subsequent sighting of the true offender established that
Mr. Donald was not the perpetrator, Defendants Jelks and Outlaw drafted Probable
Cause Affidavits and lnformation Sheets to initiate criminal charges against Mr.
Donald for the Williams robbery and the Jimenez homicide

Gary’s Flawed Policies and Practices

52. The City of Gary and the Gary Police Department have long
maintained deeply-flawed policies and practices that have resulted in Widespread
corruption and a disregard for the constitutional rights of Gary’s citizens.

53. These flawed policies and practices go back at least as early as 1979,
when then-Gary Police Chief Charles Boone, facing federal tax fraud charges,
alleged he had been framed by fellow Gary police officers in retaliation for his

efforts to combat widespread corruption on the force.

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54. Despite being on notice of the serious problems on the force,
policymakers for the City of Gary failed to take any meaningful action to address
these issues.

55. As a result, the problems continued into the early 1990s, with rampant
corruption, abuse of power, and widespread disregard for both police policies and
the law.

56. In 1992, prior to Plaintiffs wrongful arrest, prosecution and conviction,
Gary police officer John Bauswell gave sworn testimony detailing the rampant
corruption and flawed criminal investigations within the Gary Police Department
which had persisted during his eight-year career as a Gary police officer

57. Mr. Bauswell described a Widespread practice of Gary police officers
skimming money and keeping contraband uncovered during investigations for
personal use rather than inventorying it as evidence.

58. Mr. Bauswell alleged that these practices were not only known to but
explicitly condoned by the Gary Police Chief and other high ranking officers.

59. Mr. Bauswell alleged that this corruption was coupled with physical
violence used against criminal suspects and other Gary residents, in total disregard
for their constitutional rights.

60. The use of unlawful and unconstitutional violence by Gary police
officers ranged from beatings, to setting a suspected drug dealer on fire, all the way

up to murder.

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61. For example, in 1991, Gary police detectives Derrick Earls and Cory
House committed a drug robbery of a Gary home and murdered one of the residents

62. Defendant J elks and Defendant Outlaw were both implicated in the
corrupt practices described by Mr. Bauswell, prior to their involvement in Mr.
Donald’s wrongful arrest, prosecution and conviction

63. The same flawed policies and practices continued unabated throughout
the 1990s, with Gary police officers involved in rampant corruption and allowed to
violate the constitutional rights of Gary residents with impunity.

64. For example, Gary police officers James Ervin and Louis Roman were
part of a drug trafficking ring, and were implicated in laundering drug money and
committing drug-related murders in the late 1990s Ervin was alleged to have
committed these violent crimes while wearing his Gary police uniform, badge and
gun, and while driving a marked Gary police vehicle.

65. The same flawed policies and practices continued into the 2000s.

66. For example, in 2003, Sgt. Lindal Hairston was terminated after
threatening and holding a gun to the head of a civilian while off-duty. Hairston was
permitted to re- join the force and regain his rank. l\/.[ere months after re- joining the
force, Hairston was implicated in a false arrest

67. Demonstrating the impunity With which Gary police officers violated
the rights of citizens, and the ineffective disciplinary measures in place, Hairston
was laughing and smiling during disciplinary proceedings for this second incident

stating “Next time I’ll come back as Chief.”

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68. These same flawed policies and practices pervaded every level of the
police department going right up to the Chief of Police.

69. For example, in 2007 , Gary Police Chief Thomas Houston and Deputy
Police Chief Thomas Branson burst into a resident’s home, without a Warrant or
any probable cause, and beat the occupants of that home without justification
including punching a pregnant woman in the stomach

7 0. These same flawed policies and practices persist to the present day.

71. For example, in a 2013 external audit of the Gary Police Department
officers reported “getting swallowed up in an environment of apathy; political
favoritism; . . . poor relations with the community; and poor relationships with their
command.”

72. Among the audit’s findings were its conclusions that:

0 “Orders from high level command are often ignored with no follow-up
to ensure the orders are carried out, or to hold personnel accountable
for failing to follow orders”

0 “There is currently no supervisory training being conducted at any
level.”

0 “Officer performance evaluations are not being conducted and training
is minimal Evaluations are alleged to have not been completed on
officers since the 1980’5.”

0 “Standard operating procedures, rules and regulations and
department directives are out of date and not adhered to by the rank

and file.”

Mr. Donald’s Wrongful Conviction and Eventual Exoneration

73. As a direct result of the Defendant Officers’ misconduct and the City of
Gary’s flawed policies and practices Mr. Donald was falsely arrested, wrongfully
prosecuted for crimes he did not commit and wrongfully convicted of robbery and

murder at his criminal trial in June 1992. He was sentenced to 60 years in prison

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74. Throughout his incarceration Mr. Donald maintained his innocence
and sought assistance to prove it.

7 5. ln 2013, Ms. Williams came forward and revealed that Defendant
Officers had fabricated false evidence, secured eyewitness identifications using
highly suggestive procedures, and suppressed exculpatory information about the
identification procedures

76. Among the information revealed by Ms. Williams was the fact that she
and Ms. Belinsky had viewed photo books containing l\/lr. Donald’s photograph
together, rather than separately”, that she had expressed reservations about her
identification to Defendant Outlaw; and that Defendant Outlaw had provided false
information to her to assure her that Mr. Donald was guilty.

77 . As a result of Defendant Officers’ misconduct and the City of Gary’s
flawed policies and practices Mr. Donald spent nearly twenty-four years in prison

78. Mr. Donald’s convictions Were finally overturned on January 25, 2016,
and all charges against him Were dismissed on January 28, 2016.

Mr. Donald’s Damages

7 9. As a direct result of the Defendant Officers’ misconduct and the City of
Gary’s flawed policies and practices Mr. Donald suffered numerous injuries
including but not limited to loss of liberty, loss of wages attorney’s fees expended in
defense of his wrongful prosecution and efforts to prove his innocence, physical

injuries and emotional trauma.

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80. Prior to his wrongful incarceration Mr. Donald lived with his family
and had a close relationship with his parents and siblings frequently participating
in family gatherings and events

81. Prior to his wrongful incarceration Mr. Donald had been working full-
time for several years as a Shipping and Receiving Clerk at Goldblatt’s Department
Store. In addition, he had nearly completed an educational program to become a
welder.

82. Mr. Donald must now attempt to make a life for himself outside of
prison without the benefit of more than two decades of life or work experiences and
the opportunities to complete school or build a career. Furthermore, although he
has finally been exonerated, his wrongful convictions still appear during the
background check process for many jobs further impeding his ability to find
meaningful employment

83. The emotional pain and suffering caused by losing more than two
decades of his life has been substantial l\/lr. Donald was taken from his family and
stripped of the various pleasures of basic human experience, from the simplest to
the most important Which all free people enjoy as a matter of right He missed the
ability to share holidays birthdays, weddings, and other life events with his loved
ones including funerals for friends and his father, grandfather and other family
members He was also deprived of any opportunity to have romantic relationships
fall in love, and marry, and the fundamental freedom to live one’s life as an

autonomous human being.

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84. As a result of the foregoing, Mr. Donald has suffered and continues to
suffer tremendous damage, including physical suffering, anxiety attacks and
difficulty sleeping, all proximately caused by the Defendant Officers’ misconduct

LEGAL CLAIMS

COUNT I
42 U.S.C. § 1983 - Due Process

85. Each Paragraph of this Complaint is incorporated herein

86. ln the manner described above, the Defendant Officers while acting
individually, jointly, and in conspiracy with one another, as well as under color of
law and within the scope of their employment deprived Plaintiff of his
constitutional right to a fair trial.

87. ln the manner described above, the Defendant Officers deliberately
withheld material exculpatory and impeachment evidence from Plaintiff, his
counsel, and the prosecution, engaged in unduly suggestive identification
procedures and knowingly fabricated false evidence, thereby misleading and
misdirecting the prosecution of Plaintiff.

88. The Defendant Officers’ misconduct directly resulted in the unjust
criminal conviction of Plaintiff, thereby denying his constitutional right to a fair
trial guaranteed by the Fifth and Fourteenth Amendments. Absent this misconduct
the prosecution of Plaintiff could not have and would not have been pursued

89. Defendant Officers fabricated the false eyewitness identifications false
police reports and other evidence falsely implicating Mr. Donald as the perpetrator

of these crimes

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90. Defendant Officers actively concealed their misconduct and thus
actively concealed from Mr. Donald the fact that he had suffered constitutional and
other injuries and the fact that Defendant Officers had inflicted those injuries

91. The misconduct described in this Count was objectively unreasonable
and was undertaken intentionally, with malice, with reckless indifference to the
rights of others and in total disregard of the truth and Plaintiffs clear innocence

92. As a result of Defendant Officers’ misconduct described in this Count
Plaintiff has suffered and continues to suffer tremendous injuries as described
above, including physical injury and sickness and resultant emotional pain and
suffering

93. The Defendant Officers’ misconduct was undertaken pursuant to the
policy and practice of the Gary Police Department and City of Gary, to pursue
wrongful convictions by conducting profoundly flawed investigations including by
withholding exculpatory information bearing on the crime at issue, conducting
unduly suggestive identification procedures, and by fabricating inculpatory
evidence In this way, the City of Gary violated Plaintiff s rights by maintaining
policies and practices that were the moving force driving the foregoing
constitutional violations

94. These widespread practices so well-settled as to constitute de facto
policy in the Gary Police Department were able to exist and thrive because
municipal policymakers charged with overseeing the Department exhibited

deliberate indifference to the problem, thereby effectively ratifying it.

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95. The widespread practices described in the preceding paragraphs were
allowed to flourish because the City of Gary declined to implement sufficient
training or any legitimate mechanism for oversight or punishment lndeed, the
Gary Police Department’s system for investigating and disciplining police officers
accused of misconduct was, and is for all practical purposes nonexistent Moreover,
the Department maintained a “code of silence” that effectively eliminated any form
of accountability, discipline or oversight As a result officers are led to believe they
can act with impunity, thereby encouraging the very type of abuses that befell
Plaintiff.

96. The City of Gary’s flawed policies and practices relating to police
training, supervision and discipline and the widespread corruption and entrenched
“code of silence” within the Department pre-date Plaintiff’s wrongful conviction,
persisted unabated throughout the period of his wrongful incarceration and
continue to this day.

97 . Gary police officers and the other employees of the City of Gary who
manufactured criminal cases against individuals such as Plaintiff had every reason
to know that they not only enjoyed de facto immunity from criminal prosecution and
Departmental discipline but that they also stood to be rewarded for closing cases no
matter what the costs In this way, this system proximately caused abuses such as

the Defendant Officers’ misconduct at issue in this case

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COUNT II

42 U.S.C. § 1983 - Conspiracy to Deprive of Constitutional Rights

98. Each Paragraph of this Complaint is incorporated herein

99. ln the manner described above, the Defendant Officers entered into an
agreement amongst themselves and other employees of the City of Gary to deprive
Plaintiff of his constitutional rights and to participate in an unlawful act against or
to act in an unlawful manner toward him, including by conspiring to subject him to
prosecution Without probable cause, conspiring to conduct unduly suggestive
identification procedures conspiring to withhold material exculpatory and
impeachment evidence, conspiring to fabricate inculpatory evidence, and conspiring
to inflict emotional distress upon him. ln addition, the conspiring Defendants
agreed among themselves to protect one another from liability for depriving
Plaintiff of these rights

100. ln furtherance of the conspiracy, one or more of the co-conspirators
committed an overt act and was an otherwise willful participant in joint activity.

101. The misconduct described in this Count was objectively unreasonable
and was undertaken intentionally, With malice, with reckless indifference to the
rights of others and in total disregard of the truth and Plaintiff’s clear innocence

102. As a result of Defendant Officers’ misconduct described in this Count
Plaintiff has suffered and continues to suffer tremendous injuries as described
above, including physical injury and sickness and resultant emotional pain and

suffering

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103. The Defendant Officers’ misconduct described in this Count was
undertaken pursuant to the City of Gary’s policy and practice in the manner more
fully described above

COUNT III
42 U.S.C. § 1983 - Failure to Intervene

104. Each Paragraph of this Complaint is incorporated herein

105. In the manner described above, the Defendant Officers had a
reasonable opportunity to prevent each other’s violations of Plaintiff s constitutional
rights as set forth above, but failed to do so.

106. The misconduct described in this Count was objectively unreasonable
and was undertaken intentionally, with malice, with reckless indifference to the
rights of others and in total disregard of the truth and Plaintiffs clear innocence

107 . As a result of Defendant Officers’ misconduct described in this Count
Plaintiff has suffered and continues to suffer tremendous injuries as described
above, including physical injury and sickness and resultant emotional pain and
suffering

108. The Defendant Officers’ misconduct described in this Count was
undertaken pursuant to the City of Gary’s policy and practice in the manner more

fully described above

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COUNT IV
42 U.S.C. § 1983 - Malicious Prosecution

109. Each Paragraph of this Complaint is incorporated herein

110. ln the manner described above the Defendant Officers, jointly, and in
conspiracy with one another, and acting under color of state law and within the
scope of their employment deprived Plaintiff of his constitutional rights

111. The Defendant Officers accused Plaintiff of criminal activity and
exerted influence to initiate continue and perpetuate judicial proceedings against
Plaintiff without any probable cause for doing so, in violation of his rights secured
by the Fourth Amendment and the procedural and substantive due process
components of the Fourteenth Amendment.

112. ln so doing, these Defendants caused Plaintiff to be unreasonably
seized and improperly subjected to judicial proceedings for which there was no
probable cause These judicial proceedings were instituted and continued
maliciously, resulting in injury, and all such proceedings were ultimately
terminated in Plaintiff’s favor in a manner indicative of his innocence

113. The Defendant Officers subjected Plaintiff to unauthorized and
arbitrary governmental action that shocks the conscience in that Plaintiff was
deliberately and intentionally framed for a crime of which he was totally innocent
through Defendants’ fabrication and suppression of evidence and their use of

suggestive identification procedures

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114. The misconduct described in this Count was objectively unreasonable
and was undertaken intentionally, with malice with reckless indifference to the
rights of others and in total disregard of the truth and Plaintiff’ s clear innocence

115. As a result of Defendant Officers’ misconduct described in this Count
Plaintiff has suffered and continues to suffer tremendous injuries as described
above including physical injury and sickness and resultant emotional pain and
suffering

116. The Defendant Officers’ misconduct described in this Count was
undertaken pursuant to the City of Gary’s policy and practice in the manner more
fully described above

COUNT V
State Law - Malicious Prosecution

117. Each Paragraph of this Complaint is incorporated herein

118. ln the manner described above the Defendant Officers jointly, and in
conspiracy with one another, and acting under color of state law and within the
scope of their employment accused Plaintiff of criminal activity and exerted
influence to initiate continue and perpetuate judicial proceedings against Plaintiff
without any probable cause for doing so. These acts violated Mr. Donald’s rights
under lndiana law.

119. ln so doing, these Defendants caused Plaintiff to be improperly
subjected to judicial proceedings for which there was no probable cause These

judicial proceedings were instituted and continued maliciously, resulting in injury,

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and all such proceedings were ultimately terminated in Plaintiff’s favor in a manner
indicative of his innocence

120. The misconduct described in this Count was objectively unreasonable
and was undertaken intentionally, with malice, with reckless indifference to the
rights of others and in total disregard of the truth and Plaintiff’s clear innocence

121. As a result of Defendant Officers’ misconduct described in this Count
Plaintiff has suffered and continues to suffer tremendous injuries as described
above including physical injury and sickness and resultant emotional pain and

suffering

COUNT VI
State Law - Intentional Infliction Of Ernotional Distress

122. Each Paragraph of this Complaint is incorporated herein

123. ln the manner described above the Defendant Officers’ actions were
extreme and outrageous rooted in an abuse of power and authority, and were
undertaken with the intent to inflict or were iri reckless disregard of the high
probability that their conduct would inflict severe emotional distress and Plaintiff
suffered severe emotional distress as a result of Defendant Officers’ misconduct

124. As a result of Defendant Officers’ misconduct described in this Count
Plaintiff has suffered and continues to suffer tremendous injuries as described
above including physical injury and sickness and resultant emotional pain and

suffering

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COUNT VII:
State Law - Negligent Infliction Of Emotional Distress

125. Each Paragraph of this Complaint is incorporated herein

126. In the manner described above the Defendant Officers’ actions were
negligent and Plaintiff suffered serious emotional distress of the type that a
reasonable person would expect to occur as a direct result of Defendant Officers’
negligence

127 . As a result of Defendant Officers’ misconduct Plaintiff has suffered
and continues to suffer tremendous injuries as described above including physical

injury and sickness and resultant emotional pain and suffering

COUNT VIII:
State Law - Respondeat Superior

128. Each Paragraph of this Complaint is incorporated herein

129. In committing the misconduct alleged in the preceding paragraphs the
Defendant Officers Were employees and agents of the City of Gary, acting at all
relevant times within the scope of their employment

130. Defendant City of Gary is liable as principal for the state law torts
committed by its agents

COUNT IX:
State Law - Indemnification

131. Each Paragraph of this Complaint is incorporated herein
132. lndiana law requires public entities to pay any tort judgment for
compensatory damages for which employees are liable within the scope of their

employment activities

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133. ln committing the acts alleged in the preceding paragraphs the
Defendant Officers were employees of the City of Gary, acting at all relevant times
within the scope of their employment

WHEREFORE Plaintiff WILLIE T. DONALD respectfully requests that this
Court enter judgment in his favor and against Defendants BRUCE OUTLAW,
CARLA K PYLE, as special administrator of the ESTATE OF JOHN E. JELKS, Jr.,
ClTY OF GARY, and other as-yet unknown employees of the City of Gary, awarding
compensatory damages attorneys’ fees and costs against each Defendant punitive
damages against each of the individual defendants and any other relief this Court
deems just and appropriate

JURY DEMAND

Plaintiff, WILLIE T. DONALD, hereby demands a trial by jury pursuant to

Federal Rule of Civil Procedure 38(b) on all issues so triable
Respectfully submitted,

WILLIE T. DONALD

BY: /s/ Sarah Grusin
One of Plaintiffs Attor)teys
Arthur Loevy
Jon Loevy
Sarah Grusin
Sam Heppell
LOEVY & LOEVY

311 N. Aberdeen Street, Third Floor
Chicago, lllinois 60607
(312) 243-5900

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CERTIFICATE OF SERVICE

Scott R. Drury, an attorney, certifies that on October l7, 2018, he served via United
States Mail, postage prepaid, the foregoing Adversary Complaint to Except Debt from Discharge
on the following counsel and trustees of record:

Kenneth L. Fugate
7225 East Ridge Road
Hobart, Indiana 46342

Paul R. Chael
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Merrillville, Indiana 46410

Nancy J. Gargula
100 East Wayne Street, 5th Floor

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SCOTT R. DRURY

